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 8                              UNITED STATES DISTRICT COURT
 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN JOSE DIVISION
11

12    NATIONAL URBAN LEAGUE, et al.,                     CASE NO. 5:20-cv-05799-LHK
13                                   Plaintiffs,         STIPULATED ORDER REGARDING
                     v.                                  DISMISSAL
14

15    GINA RAIMONDO et al.,

16                                   Defendants.
17

18   1.     PREAMBLE

19          Plaintiffs National Urban League; League of Women Voters; Black Alliance for Just

20   Immigration; Harris County, Texas; King County, Washington; City of Los Angeles, California;

21   City of Salinas, California; City of San Jose, California; Rodney Ellis; Adrian Garcia; the National

22   Association for the Advancement of Colored People; City of Chicago, Illinois; County of Los

23   Angeles, California; Navajo Nation; and Gila River Indian Community, and Defendants Gina

24   Raimondo, in her official capacity as Secretary of Commerce; United States Department of

25   Commerce; Dr. Ron Jarmin, in his official capacity as Acting Director of the United States Census

26   Bureau; and the United States Census Bureau (collectively, “Parties”) hereby stipulate and agree

27   to, and request the Court order, dismissal without prejudice of the above-captioned action pursuant

28   to Federal Rule of Civil Procedure 41(a)(2), as follows.

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 1   2.     PREMISES

 2          WHEREAS, Plaintiffs filed their Complaint on August 18, 2020, ECF No. 1, their

 3   Amended Complaint on September 1, 2020, ECF No. 61, and their Second Amended Complaint

 4   on October 27, 2020, ECF No. 352 (“SAC”);

 5          WHEREAS, Plaintiffs allege that Defendants’ conduct related to the 2020 decennial census

 6   violated the Enumeration Clause of the United States Constitution and the Fourteenth Amendment

 7   to the United States Constitution, and the Administrative Procedure Act, SAC ¶¶ 460–84;

 8          WHEREAS, Defendants deny that their actions related to the 2020 decennial census were

 9   unconstitutional or unlawful, Answer to SAC, ECF No. 418, ¶¶ 460–84;

10          WHEREAS, on August 25, 2020, Plaintiffs moved for a preliminary injunction, ECF No.

11   36, and on September 3, 2020, Plaintiffs moved for a Temporary Restraining Order, ECF No. 66;

12          WHEREAS, on September 5, 2020, the Court granted Plaintiffs’ request for a Temporary

13   Restraining Order, enjoining Defendants from implementing the Replan until the Court’s

14   September 17, 2020 hearing on Plaintiffs’ motion for preliminary injunction, ECF No. 84;

15          WHEREAS, on September 17, 2020, the Court extended the Temporary Restraining Order

16   until September 24, 2020, ECF No. 142;

17          WHEREAS, the District Court issued a preliminary injunction on September 24, 2020,

18   enjoining Defendants from implementing the Replan’s September 30, 2020 deadline for the

19   completion of data collection and December 31, 2020 deadline for reporting the tabulation of the

20   total population to the President, holding that the Replan was promulgated in violation of the

21   Administrative Procedure Act, ECF No. 208;

22          WHEREAS, the District Court later clarified that the Preliminary Injunction required

23   Defendants to continue data collection operations through October 31, 2020, ECF No. 288;

24          WHEREAS, Defendants appealed to the United States Court of Appeals for the Ninth

25   Circuit on September 25, 2020, ECF No. 210;

26          WHEREAS, the District Court denied Defendants’ request to stay the preliminary

27   injunction, and the Court of Appeals denied it in part and granted it in part, ECF Nos. 212 & 277;

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 1          WHEREAS, the Supreme Court granted Defendants’ request to stay the preliminary

 2   injunction on October 13, 2020, Ross v. National Urban League, 141 S. Ct. 18 (2020);

 3          WHEREAS, Defendants generally concluded field operations on October 15, 2020;

 4          WHEREAS, Defendants moved to dismiss the SAC on November 10, 2020, ECF No. 354,

 5   which the Court denied on December 22, 2020, ECF No. 401;

 6          WHEREAS, additional details regarding the claims in this case and the procedural history,

 7   including the Parties’ disputes regarding Defendants’ conduct as to production of the

 8   Administrative Record and other documents in this case and Defendants’ conduct as to compliance

 9   with the Court’s orders, are set forth in the Court’s Order Extending Temporary Restraining Order

10   for Defendants’ Partial Production of the Administrative Record (ECF No. 142), Order Granting

11   Plaintiffs’ Motion for Stay and Preliminary Injunction (ECF No. 208), Order Re: Clarification of

12   Stay and Preliminary Injunction (ECF No. 288), Order Granting Motion to Compel (ECF No. 372),

13   Amended Order Denying Motion for Reconsideration and Clarifying Order to Compel (ECF No.

14   380), and Order Granting Plaintiffs’ Renewed Motion to Compel; Deferring Ruling on Sanctions

15   (ECF No. 462), among others; 1

16          WHEREAS, the Court’s various rulings regarding the merits of Plaintiffs’ claims can be

17   found in, among other orders, the Court’s Order Granting Motion for Temporary Restraining Order

18   (ECF No. 84), Order Granting Plaintiffs’ Motion for Stay and Preliminary Injunction (ECF No.

19   208), Case Management Order (ECF No. 357), and Order Denying Defendants’ Motion to Dismiss

20   and Motion for Stay of Proceedings (ECF No. 401);

21          WHEREAS, pursuant to the expedited trial date and compressed discovery period in the

22   case, up to January 15, 2021 the parties were engaged in deep fact and expert discovery, with

23
     1
       See, e.g., ECF No. 174 (Order After In Camera Review as to Attorney-Client Privilege
24   Asserted by Defendants); ECF No. 179 (First Order After In Camera Review as to Deliberative
     Process Privilege Asserted by Defendants); ECF No. 182 (Second Order After In Camera
25   Review as to Deliberative Process Privilege Asserted by Defendants); ECF No. 184 (Third Order
     After In Camera Review as to Deliberative Process Privilege Asserted by Defendants); ECF No.
26   306 (Order After In Camera Review of Documents Identified on Defendants’ October 4
     Privilege Log); ECF No. 407 (Order After In Camera Review of Disputed Documents Identified
27   in Government’s December 21 Privilege Log); ECF No. 416 (Order Granting In Part and
     Denying In Part Plaintiffs’ Requests for Relief in December 29, 2020 Joint Status Report); ECF
28   No. 428 (Order After Audit of Withheld Documents).
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 1   numerous upcoming depositions noticed for various senior officials at the Census Bureau,

 2   including Director Steve Dillingham;

 3          WHEREAS, rather than continue with discovery, the scheduled depositions, and Plaintiffs’

 4   request for sanctions against Defendants, and pursuant to Defendants’ request for a stay amid

 5   assurances that all efforts to deliver truncated, flawed and constitutionally impermissible state

 6   population counts to the Trump administration prior to the January 20, 2021 transition of

 7   administrations would halt, on January 15, 2021, the Parties filed with the Court a stipulation

 8   seeking a 21-day stay in proceedings. In that filing, Defendants stipulated that the Census Bureau

 9   would not (i) finalize or provide apportionment data or (ii) provide reports, estimates, or data

10   relating to the July 21, 2020 Presidential Memorandum on Excluding Illegal Aliens from the

11   Apportionment Base Following the 2020 Census or Executive Order 13880, entitled Collecting

12   Information About Citizenship Status in Connection with the Decennial Census (July 11, 2019),

13   until many weeks into the new administration, ECF No. 455;

14          WHEREAS, the Court granted the 21-day stay, ECF No. 456;

15          WHEREAS, on February 3, 2021 the Parties stipulated to a further 21-day stay of

16   proceedings, pursuant to Defendants agreeing to certain stipulations resolving a number of

17   Plaintiffs’ concerns in this case and providing for the relief Plaintiffs sought, including: (1) that

18   the tabulation of total population by States based on 2020 Census data and described by 13 U.S.C.

19   § 141(b), and the P.L. 94-171 Redistricting Summary Data File based on 2020 Census data and

20   described by 13 U.S.C. § 141(c), would not include or otherwise incorporate any information on

21   citizenship or immigration status, nor would such counts or data products be affected by any

22   information on citizenship or immigration status, and (2) that the Census Bureau would continue

23   data processing for an appropriate period of time and would not, under any circumstances, report

24   the results of the 2020 Census to the Secretary of the Department of Commerce, the President, and

25   Congress, before April 16, 2021—a schedule equivalent to the COVID-19 plan timeline for data

26   processing sought by Plaintiffs’ complaint. That order ensured, in Plaintiffs’ view, that the Bureau

27   would no longer artificially accelerate the count and instead allow its experts to conduct the

28   remaining census processes in accordance with appropriate statistical practices, and provided
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 1   sufficient rationale to stay the litigation and upcoming trial while the parties worked to resolve any

 2   remaining issues;

 3          WHEREAS, the Court granted the 21-day stay, ECF No. 467, and later extended it further

 4   at the Parties’ requests, ECF Nos. 471 and 475; and

 5          WHEREAS, the parties have continued to engage in discussions, including as to Plaintiffs’

 6   concerns about Defendants’ conduct during the data collections/field operations period and

 7   Defendants’ concerns regarding the production of Census Bureau data that raise privacy and

 8   confidentiality concerns regarding Title XIII and may lead to extensive additional litigation in this

 9   case, and have reached resolution on the appropriate terms and conditions regarding Plaintiffs’

10   dismissal of their claims without prejudice, as set forth below.

11   3.     STIPULATED ORDER REGARDING DISMISSAL

12          NOW, THEREFORE, THE PARTIES JOINTLY STIPULATE AND REQUEST THE

13   COURT ORDER DISMISSAL WITHOUT PREJUDICE AS FOLLOWS:

14          1.      Plaintiffs’ SAC shall be dismissed pursuant to Federal Rule of Civil Procedure

15   41(a) without prejudice and Defendants shall dismiss all pending appeals pursuant to Federal Rule

16   of Appellate Procedure 42(b).

17          2.      The tabulation of total population by States based on 2020 Census data and

18   described by 13 U.S.C. § 141(b), and the P.L. 94-171 Redistricting Summary Data File based on

19   2020 Census data and described by 13 U.S.C. § 141(c), will not include or otherwise incorporate

20   any information on citizenship or immigration status, nor will such counts or data products be

21   affected by any information on citizenship or immigration status. The Census Bureau recognizes

22   that the citizenship and immigration status data collected in accord with the “Memorandum

23   Excluding Illegal Aliens From the Apportionment Base Following the 2020 Census” (Presidential

24   Memorandum) and Exec. Order No. 13,880, § 1, 84 Fed. Reg. 33,821, 33,821 (July 16, 2019), are

25   incomplete and that the data products that the Bureau was assembling in accord thereto are

26   statistically unfit for use for apportionment or redistricting purposes.

27          3.      The Census Bureau will continue its data processing under an appropriate timeline,

28   whereby the apportionment data from the 2020 Census are scheduled to be released by April 30,
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 1   2021 and Defendants will not under any circumstances report the results of the 2020 Census to the

 2   Secretary of Commerce, the President, and Congress, before April 26, 2021.

 3          4.      With respect to Plaintiffs’ concerns regarding Defendants’ conduct during the data

 4   collections/field operations period, given that (i) the data-processing timeline for the 2020 Census

 5   was extended, (ii) the data collected pursuant to the Presidential Memorandum and Exec. Order

 6   13,880 will no longer be used, (iii) the Census Bureau believes that it is premature to assess the

 7   quality of the data collections process or the data received from that process until additional

 8   reports, assessments and surveys are run, (iv) the Census Bureau has assured Plaintiffs that it has

 9   been and is currently actively engaged in compiling various data quality metrics that will provide

10   insight into the quality of data collected and processed during the 2020 Decennial Census,

11   including with the involvement of numerous third parties such as the JASON group and the

12   American Statistical Association, (v) the Census Bureau has provided various information to

13   Plaintiffs consistent with these representations of ongoing diligence, in addition to engaging in

14   numerous detailed conversations (including directly between Census Bureau senior officials and

15   Plaintiffs’ experts) in an effort to assure Plaintiffs that the Census Bureau is now operating under

16   appropriate direction, (vi) the Census Bureau is continuing to conduct its Post-Enumeration

17   Survey, which will provide a significant amount of additional information regarding the quality of

18   the data collection process in the months and years to come, and (vii) the likelihood that reengaging

19   the instant litigation will lead to significant disputes and satellite appellate litigation regarding

20   whether and to what extent Title XIII protections prevent disclosure of various data that Plaintiffs

21   are currently entitled to receive, under the orders of this Court, and may ultimately lead to delay

22   in the publication of state population counts and redistricting numbers that may have residual

23   effects, the parties agree that rather than continuing to dispute whether a violation of the

24   Enumeration Clause or Census Act has occurred with respect to Defendants’ truncated data

25   collections/field operations period, the parties will instead proceed in the following manner: The

26   Census Bureau will continue to carry out data-quality review for the U.S. total, each of the 50

27   states, District of Columbia, and Puerto Rico, as well as at sub-state levels, including county and

28   census-tract levels.
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 1        a.       The Census Bureau has already released some data quality metrics, which are

 2        available here. This data includes:

 3             •   Self-response rates down to the tract level
 4
               •   Total completion rates at the state level
 5
               •   NRFU workload completion rates for the area census offices
 6

 7        b.       At or around the release of the apportionment data, the Census Bureau will

 8        produce quality metrics for the United States, each of the 50 states, the District of

 9        Columbia, and Puerto Rico, as described here. The Census Bureau will produce

10        operational metrics for the United States, each of the 50 states, the District of Columbia

11        and Puerto Rico, including the metrics identified in Exhibit 1.

12        c.       Around May 2021, the Census Bureau will release additional information for the

13        50 states, the District of Columbia, and Puerto Rico, including operational quality metrics

14        identified in Exhibit 2.

15        d.       Around the date when the Census Bureau releases redistricting products, the

16        Bureau will provide summary level information for sub-state levels, including county and

17        census tract levels (for example, “XX% of tracts had proxy rates greater than 50%”).

18        e.       The Census Bureau will continue to conduct its own internal subject matter expert

19        reviews as well as having external experts, like the American Statistical Association,

20        conduct reviews of the processing files for the 2020 Census for both the apportionment

21        numbers and the redistricting data. The Census Bureau will also continue all activities

22        necessary for the Data Quality Executive Guidance Group to review 2020 Census results

23        for accuracy prior to publication. These reviews will include reviewing and assessing

24        issues identified in Plaintiffs Complaint, including:

25                    •   The use of administrative records and quality of enumerations using those

26                        records

27                    •   The use of proxies and quality of enumerations using proxy responses

28                    •   The use of “pop-count only” enumerations and other enumerations
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 1                          containing less characteristics and demographic data than a full

 2                          enumeration

 3          f.      The Census Bureau agrees to hold video briefings for Plaintiffs every two months

 4          to allow an opportunity for questions and answers regarding status of forthcoming data-

 5          quality metrics and assessment of released data quality metrics, with one final briefing

 6          occurring after the release of the final results from the Post-Enumeration Survey. The

 7          briefings will be open to Plaintiffs and their attorneys and will also be open to the public.

 8          No less than 48 hours prior to those briefings, the Census Bureau will provide Plaintiffs

 9          with the materials it plans on discussing during the briefings, which may include detailed

10          synopses of current data, findings, assessments and data quality metrics at an appropriate

11          level of geographic granularity.

12          5.      This Court shall retain jurisdiction over this matter. Should any Plaintiff intend to

13   (1) file a motion to enforce this order, or (2) file a complaint involving the claims currently raised

14   in this litigation, or substantially similar claims, regarding Defendants’ conduct regarding the 2020

15   decennial census data collection period, they shall first meet and confer in good faith with

16   Defendants in an attempt to resolve any dispute. No such meet and confer obligation shall be

17   required for any new claims that Plaintiffs may bring, in any court, related to the ultimate counts

18   resulting from the 2020 decennial census. After sixty days following the Census’s final briefing

19   described in ¶ 4(f) of this Agreement after the release of the final results from the Post-Enumeration

20   Survey, Plaintiffs (a) forever waive and release Defendants from any liability or claim arising from

21   Defendants’ data collection or data processing during the 2020 Census not asserted by that date

22   and (b) may not file or re-file any complaint in any court involving the claims currently raised in

23   this litigation or substantially similar claims. The date identified in the foregoing sentence shall

24   in no event precede June 1, 2022, and does not affect any action filed by any Plaintiff involving a

25   challenge to the ultimate counts resulting from the 2020 decennial census under the Census

26   Bureau’s Count Question Resolution program.

27          6.      In light of Defendants previously stipulating to grant Plaintiffs the relief they sought

28   in this action regarding the processing period of the 2020 decennial census (see ECF 466),
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 1   Plaintiffs hereby waive and release Defendants from any liability or claim that rely exclusively on

 2   information known to them as of the date this Stipulated Order Regarding Dismissal is entered and

 3   which liability or claim is based solely on Defendants’ seeking to shorten the data processing

 4   period of the 2020 decennial census pursuant to the Census Bureau’s Replan. However, if

 5   Plaintiffs learn of or reasonably believe that new information forms the basis of a new or renewed

 6   claim based on data processing, Plaintiffs may re-file a complaint involving the claims currently

 7   raised in this litigation or substantially similar claims so long they first meet and confer with

 8   Defendants.

 9           7.      Nothing in this Stipulated Order Regarding Dismissal shall constitute or be

10   construed to constitute an admission of any wrongdoing or liability by Defendants, an admission

11   by Defendants of the truth of any allegations or the validity of any claim asserted in this Action, a

12   concession or admission by Defendants of any fault or omission of any act or failure to act, or a

13   finding that Defendants acted in bad faith.

14           8.      The Parties waive and release any request for sanctions arising from this case,

15   including but not limited to any request for sanctions related to discovery or discovery obligations

16   in this case.

17           9.      The Defendants will pay Plaintiffs $1,500,000 in total for Plaintiffs’ reasonable

18   attorneys’ fees and the United States will pay $150,000 in costs incurred in this matter to date.

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                                          Civil Division - Federal Programs Branch
27                                        1100 L Street, NW
28                                        Washington, D.C. 20005

                                         13
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 2                                        Attorneys for Defendants

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 1         IT IS SO ORDERED. The Clerk shall close the file.

 2

 3   DATED: April 22, 2021                          _______________________________
                                                     LUCY H. KOH
 4                                                   UNITED STATES DISTRICT JUDGE
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 1                                           ATTESTATION

 2           I, Sadik Huseny, am the ECF user whose user ID and password authorized the filing of this

 3   document. Under Civil L.R. 5-1(i)(3), I attest that all signatories to this document have concurred

 4   in this filing.

 5   Dated: April 22, 2021                            LATHAM & WATKINS LLP
 6                                                    By: /s/ Sadik Huseny
 7                                                        Sadik Huseny

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 1                                        EXHIBIT 1
 2
                        2020 Census Data Quality Operational Metrics: Release 1
 3

 4   Total Addresses (Count)
 5
     Final Status of Addresses
 6   Percent Resolved as:
        Self-Response Occupied
 7
        Self-Response Vacant/Delete (applies to 2020 Census only)
 8      Nonresponse Followup Occupied
        Nonresponse Followup Vacant
 9      Nonresponse Followup Delete
10      Group Quarters Occupied
        Group Quarters Vacant/Delete
11      Other Occupied (2020: UE, RA, SRQA, and Cov Imp; 2010: UE, RUE, RA, and CFU) 2
        Other Vacant (2020: UE, RA, SRQA, and Cov Imp; 2010: UE, RUE, RA, and CFU)
12
        Other Delete (2020: UE, RA, SRQA, and Cov Imp; 2010: UE, RUE, RA, and CFU)
13      Unresolved (went to Count Imputation)
           Unresolved, data collection
14         Unresolved, person unduplication (applies to 2020 Census only)
15
     Resolution of Housing Unit Enumeration
16   Percent Housing Units (including Deletes) Resolved as:
       Self-Response
17
          Internet (applies to 2020 Census only)
18        Paper
          Telephone
19     All NRFU and Other (2020: UE, RA, SRQA, and Cov Imp; 2010: UE, RUE, RA,
20   and CFU)
     Enumeration Activities
21        Household Interview
          Proxy
22            Occupied
23            Vacant
              Delete
24        Unknown Respondent Type (applies to 2010 Census only)
          Administrative Records (applies to 2020 Census only)
25
             Occupied (applies to 2020 Census only)
26

27         2
             Acronyms defined: NRFU: Nonresponse Followup; UE: Update Enumerate; RUE:
     Remote Update Enumerate; RA: Remote Alaska; SRQA: Self-Response Quality Assurance; Cov
28   Imp: Coverage Improvement; CFU: Coverage Follow-up

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             Vacant (applies to 2020 Census only)
 1
             Delete (applies to 2020 Census only)
 2      Unresolved Housing Units (went to Count Imputation)
          Unresolved, data collection
 3        Unresolved, person unduplication (applies to 2020 Census only)
 4
     Resolution of Housing Unit Enumeration
 5   Percent Housing Units (including Deletes) Resolved as:
       Within Self-Response
 6
          Internet (applies to 2020 Census only)
 7        Paper
          Telephone
 8     Within NRFU and Other (2020: UE, RA, SRQA, and Cov Imp; 2010: UE, RUE, RA,
     and CFU)
 9
     Enumeration Activities
10        Household Interview
          Proxy
11            Occupied
12            Vacant
              Delete
13        Unknown Respondent Type (applies to 2010 Census only)
          Administrative Records (applies to 2020 Census only)
14
             Occupied (applies to 2020 Census only)
15           Vacant (applies to 2020 Census only)
             Delete (applies to 2020 Census only)
16

17   All Nonresponse Followup Occupied
     Percent Resolved by:
18    Household Interview
       Proxy
19
      Unknown Respondent Type (applies to 2010 Census only)
20    Administrative Records (applies to 2020 Census only)

21   All Nonresponse Followup Vacant
22   Percent Resolved by:
        Proxy
23      Administrative Records (applies to 2020 Census only)
24
     All Nonresponse Followup Deletes
25   Percent Resolved by:
        Proxy
26      Administrative Records (applies to 2020 Census only)
27
     Within Nonresponse Followup, Pop Count Only (NRFU Occupied from Household
28   Interviews and Proxy Interviews)
                                             2
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     Percent Resolved by:
 1
          Household Interview
 2        Proxy Interview
          Unknown Respondent Type (applies to 2010 Census only)
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 1                                        EXHIBIT 2
 2
                    2020 Census Data Quality Operational Metrics: Release 2
 3
     Average Housing Unit Size:
 4     Of Self-Response Occupied Housing Units
       Of Nonresponse Followup (NRFU) Occupied Housing Units
 5        Of NRFU Household Interviews
          Of NRFU Proxy Interviews
 6        Of NRFU Administrative Records Enumerations (applies to 2020 Census only)
       Of Other Occupied Housing Units (2020: UE, RA, SRQA, ETL, and Cov Imp; 2010: UE,
 7   RUE, RA, ETL, and CFU)
       Of Results from Count Imputation
 8
     Percent Single-Person Housing Units:
 9     Of Self-Response Occupied Housing Units
       Of Nonresponse Followup (NRFU) Occupied Housing Units
10        Of NRFU Household Interviews
          Of NRFU Proxy Interviews
11        Of NRFU Administrative Records Enumerations (applies to 2020 Census only)
       Of Other Occupied Housing Units (2020: UE, RA, SRQA, ETL, and Cov Imp; 2010: UE,
12   RUE, RA, ETL, and CFU)
       Of Results from Count Imputation
13
     Percent Two-Person Housing Units:
14     Of Self-Response Occupied Housing Units
       Of Nonresponse Followup (NRFU) Occupied Housing Units
15        Of NRFU Household Interviews
          Of NRFU Proxy Interviews
16        Of NRFU Administrative Records Enumerations (applies to 2020 Census only)
       Of Other Occupied Housing Units (2020: UE, RA, SRQA, ETL, and Cov Imp; 2010: UE,
17   RUE, RA, ETL, and CFU)
       Of Results from Count Imputation
18
     Percent Housing Units Enumerated by:
19     Self-Response
          ID Processing
20        Non-ID Processing
       Nonresponse Followup
21        Household Interview
          Proxy Interview
22        Adminstrative Records
       Other (2020: UE, RA, SRQA, ETL, and Cov Imp; 2010: UE, RUE, RA, ETL, and CFU)
23     By Count Imputation
24   Percent Housing Units Enumerated as:
       Occupied
25        Self-Response
          Nonresponse Followup Household and Proxy Enumerations
26        Administrative Records Enumerations (applies to 2020 Census only)
          Other Enumerations (2020: UE, RA, SRQA, ETL, and Cov Imp; 2010: UE, RUE, RA,
27        ETL, and CFU)
          By Count Imputation
28     Vacant
          Self-Responses
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         Nonresponse Followup Household and Proxy Enumerations
 1       Administrative Records Enumerations (applies to 2020 Census only)
         Other Enumerations (2020: UE, RA, SRQA, ETL, and Cov Imp; 2010: UE, RUE, RA,
 2       ETL, and CFU)
         By Count Imputation
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